                                   No-21-2272

                 In the United States Court of Appeals
                         For the Eighth Circuit
__________________________________________________________________

                 Criminal Appeal from the District of Minnesota

                     _______________________________

                       UNITED STATES OF AMERICA,

                                    Appellee,

                                        v.

                             JOSE MARTIN MORALES,

                                    Appellant.

__________________________________________________________________

                             BRIEF OF APPELLANT

         in accordance with Anders v. California, 386 U.S. 738 (1967)
__________________________________________________________________



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                          SUMMARY OF THE CASE

      The following brief is submitted in accordance with Anders v. California,

386 U.S. 738 (1967). The Appellant, Jose Morales, objects to application of a

notice of enhanced sentence pursuant to 21 U.S.C. §851. Counsel has carefully

examined the facts and arguments contained in the record on appeal and further

researched the applicable law in support of the issue and concluded the appeal does

not present a nonfrivolous legal question. Counsel reached this conclusion after

thoroughly reviewing the record for any arguable violations of the Constitution,

statutes, Federal Rules of Criminal Procedure, and the United States Sentencing

Guidelines.

      Counsel for the Appellant moves separately to withdraw as counsel based on

the guidance of Anders v. California. There is NOT a request for oral argument.




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                       JURISDICTIONAL STATEMENT

      This is an appeal from the District of Minnesota. The District Court had

jurisdiction over the case pursuant to 18 U.S.C. § 3231 (2019), which states: “The

district courts of the United State shall have original jurisdiction… of all offenses

against the Laws of the United States.”

      The Eight Circuit Court of Appeals has jurisdiction of the appeal pursuant to

28 U.S.C. § 1291 (2020). This is an appeal from a final decision of a District

Court of the United States.

      Morales was sentenced on May 26, 2021. He filed a Notice of Appeal on

June 7, 2021.




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                         STATEMENT OF THE ISSUES

I.      There is no nonfrivolous issue regarding the enhanced sentencing

        procedure in the instant case. Morales argues the District Court

        should have declined to accept the §851 notice and sentenced him to the

        120 month minimum.

        Most apposite case: U.S. v. Young, 960 F. Supp. 2d 881 (N.D. Iowa 2013)




                                         v
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                          STATEMENT OF THE CASE

      Jose Martin Morales was charged by Indictment on November 6, 2019 with

conspiracy to distribute 50 grams or more of methamphetamine in Count I in

violation of 21 U.S.C. §841 (a)(1), §841 (b)(1)(A) and possession with intent to

distribute methamphetamine in Counts II and III in violation of 21 U.S.C. §841

(a)(1), §841 (b)(1)(A).

      The Government filed an information to establish a prior conviction for an

enhanced sentence pursuant to 21 U.S.C. §851 on November 27, 2019. DOC #16.

On September 17, 2020 Morales entered a guilty plea to Count II and informed the

Court he intended to argue at sentencing regarding the application of the §851

notice to his case. The plea agreement included Morales’ objection to the §851

notice. DOC #47. Count II carried a mandatory minimum sentence of 120

months. The enhanced sentence made it a mandatory 180 months.

      Morales has a prior conviction from 2007 in Minnesota for Assault-First

Degree, which was identified in the §851 notice. DOC #16. He was sentenced to

129 months in prison for the offense. PSR, p. 5. In Minnesota, an assault in the

first degree requires evidence of great bodily harm. Accordingly, the prior

conviction was considered a serious violent felony. In his position on sentencing,

Morales asked the Court to set aside the §851 notice. DOC #69. He further argued

the difference between guideline sentences for actual versus methamphetamine


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mixture creates an unwarranted disparity. He requested a minimum sentence of

120 months. DOC #69. Morales waived his right to a jury trial determination of

his §851 objections. DOC #71.

      Morales was sentenced on May 26, 2021. The District Court overruled his

objections to the §851 notice and sentenced him to 180 months. DOC #79.




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                        SUMMARY OF THE ARGUMENT

      The District Court substantially complied with the law and sentenced

Morales to a sentence within the guidelines. Morales’ objections to an enhanced

sentence because of the §851 notice does not amount to a nonfrivolous issue on

appeal. Likewise, any objection to the sentence itself is also not a nonfrivolous

issue for appellate review.

      Morales filed a pro se motion with the District Court purporting to seek new

counsel, but has not filed a similar motion with the Court of Appeals. Counsel

informed Morales of Counsel’s position regarding the merits of the instant appeal,

but Morales has not moved to substitute for a new attorney.

      Morales’ objections to the application of the §851 notice and resulting

sentence essentially involve questions of fairness. Morales argued the underlying

conviction happened when he was very young and he was convicted for aiding and

abetting, not as a principal actor in the assault.

      In light of the issues raised by Morales in this matter, Counsel has moved to

withdraw pursuant to Anders v. California, 386 U.S. 738 (1967).




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                                    ARGUMENT

I.  MORALES OBJECTS TO THE §851 NOTICE ENHANCING HIS
        SENTENCE TO 15 YEARS BECAUSE IT WAS ARBITRARILY
            APPLIED. THERE IS NO NONFRIVOLOUS ISSUE
REGARDING            THE NOTICE OR SENTENCE.

        A.    Standard of Review.

        This Court reviews crime-of-violence determinations de novo. United States

v. Harris, 950 F.3d 1015, 1017 (8th Cir. 2020). According to 21 U.S.C. §841

(b)(1)(A), if “any person commits such a violation of after a prior conviction for a

serious drug felony or serious violent felony has become final, such person shall be

sentenced to a term of imprisonment of not less than 15 years…” (emphasis

added). A serious violent felony is defined in 21 U.S.C. §802 (58) as “an offense

described in §3559 (c)(2) of Title 18 for which the offender served a term of

imprisonment of more than 12 months.” Morales was convicted in Minnesota of

Assault-First Degree.

        Morales’ argument regarding his sentence would otherwise be reviewed for

substantive reasonableness. see United States v. Woods, 717 F.3d 654, 659 (8th

Cir. 2013)(standard of review).

        B.    There is no nonfrivolous argument available to Morales.

        The Government filed its notice pursuant to 21 U.S.C. §851 alleging

Morales’ prior Minnesota conviction for First Degree Assault (aid/abet) in 2007 is

the basis for enhanced sentence. With a simple keystroke on a computer, the U.S.
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Attorney’s Office imposed an additional five years of prison on Morales with little

recourse to challenge it.

       In 2013, the Hon. Mark Bennett wrote a memorandum opinion in a drug

case from the Northern District of Iowa that severely criticized the arbitrary nature

of §851 notices in that district. see U.S. v. Young, 960 F.Supp.2d 881 (N.D. Iowa

2013). Prior to August, 2013 the Department of Justice lacked any discernible

policy on the use of §851 notices. Just days before the Young opinion was filed,

then U.S. Attorney General Eric Holder issued a memorandum to all U.S. Attorney

offices that created a national policy on seeking enhanced sentence. Young, at 888.

The policy directed AUSAs to consider certain factors before filing §851 notices

that were meant to make use of the notice less disparate. Id.

       During the Trump administration, the policy put forth by AG Holder was

abandoned as evidenced by a memo dated May 10, 2017.1 Now, it was department

policy to pursue the most serious offenses, which were defined as those offenses

carrying the most substantial guidelines sentences. Morales’ crimes occurred, and

were charged, in 2019 while the Holder policy was no longer effective and the

Trump policy was in place. On January 29, 2021 the acting Attorney General

issued a new memorandum that rescinded the Trump-era policy, thus reverting to



1
  Dept. Charging and Sentencing Policy, www.justice.gov/archives/opa/press-
release/file/965896/download
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prior policy on charging decisions. The Holder policy might not have prevented

the §851 notice in Morales’ case, but it could have made it less likely. Morales

claims enhanced sentencing notices filed under the direction of seeking the most

substantial guideline sentence in every case is inherently unjust. He further argues

the Court should reject the notice because it does not properly describe the conduct

from the prior offense in the context of the definition of serious violent felony.

      The §851 notice in the instant case refers to a First Degree Assault

conviction from 2007. It does not state Morales was charged with aiding and

abetting in the crime. Morales argues the difference is in the comparative

culpability of his actions.

      According to 21 U.S.C. §841 (b)(1)(A), “if any person commits such a

violation after a prior conviction for a serious drug felony or serious violent felony

has become final, such person shall be sentenced to a term of imprisonment of not

less than 15 years….” The term “serious violent felony” is found in 21 U.S.C.

§802 (58) and is defined therein as “an offense described in §3559 (c)(2) of Title

18 for which the offender served a term of imprisonment of more than 12 months;

and any offense that would be a felony violation of section 113 of Title 18, if the

offense were committed in the special maritime and territorial jurisdiction of the

United States, for which the offender served a term of imprisonment of more than

12 months.” Morales was sentenced to 129 months in 2007.

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According to 18 U.S.C. §3559 (c)(2)(F)(i), the list of offenses does not include the

type of assault in Morales’ conviction. Under §3559 (c)(2)(F)(ii), the term

“serious violent felony” means “any other offense punishable by a maximum term

of imprisonment of 10 years or more that has an element the use, attempted use, or

threatened use of physical force against the person of another or that, by its nature,

involves a substantial risk that physical force against the person of another may be

used in the course of committing the offense.” These definitions are broad, but

also not consistent.

      The elements of First Degree Assault in Minnesota require a defendant

assaulted another and caused great bodily harm. See Minn. CRIMJIG 13.04

(2020). However, the State is not required to prove a defendant intended to inflict

great bodily harm, just that the defendant intended to commit assault. Id. Assault

is defined at trial as “an act done with the intent to cause fear in another of

immediate bodily harm or death; or intentional infliction of or attempt to inflict

bodily harm upon another. See Minn. CRIMJIG 13.01 (2020). Morales’ criminal

history admittedly reflects that he was convicted of First Degree Assault in 2007,

but his actual role in the offense is unclear.

      In Minnesota, a person is criminally liable for a crime committed by another

if the person intentionally aids, advises, hires, counsels, or conspires with or

otherwise procures the other to commit the crime. Minn. Stat. §609.05, Subd. 1

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(2020). Morales has always maintained that as a 17 year old kid pressured by

older principals he feared to participate in the assault, that he was somewhat less

culpable than those principals. He now argues a terrible crime from 14 years ago

that happened when he was a kid should not come back to enhance a drug

sentence.

      In all fairness, Morales acknowledges the Eighth Circuit has already found

there is no distinction between a conviction as a principal and a conviction for

aiding and abetting in the context of defining “crime of violence” for career

offender purposes. U.S. v. Gammell, 932 F.3d 1175, 1180 (8th Cir. 2019).

Morales argues his case is different because the statutes defining “serious violent

felony” are inconsistent and they are very broad. He asked the District Court to

find that even if the Government can prove he has a prior conviction that appears

to be a serious violent felony, the Court should still reject the enhanced sentence

because of his role in the former offense and in the interest of justice. The District

Court declined and sentenced him to 180 months, the lowest possible sentence

considering the mandatory minimum.




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                                  CONCLUSION

      Counsel for the Appellant finds no nonfrivolous issues in this matter and

moves to withdraw in accordance with Anders v. California. Jose Morales

respectfully requests the Court to vacate his sentence.

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                       CERTIFICATE OF COMPLIANCE

      The undersigned attorney for the Appellant certifies this brief complies with

the type-volume limitation of Rule 32 of the Federal Rules of Appellate Procedure.

The brief has 1836 words proportionally spaced, in Baskerville type face in font

size 14, excluding the summary of the case, table of contents, table of authorities,

and certificate of compliance. The brief was prepared using Apple Pages software

version 11.1 (2021).

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